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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


____________________________________
                                    :
In re:                              :                 Chapter 11
                                    :
YELLOW CORPORATION, et al.,         :                 Case No. 23-11069(CTG)
                                    :
                  Debtors.          :
____________________________________:

  ORDER GRANTING MOTION OF NATIONS FUND I, LLC FOR (I) RELIEF FROM
   THE AUTOMATIC STAY TO TERMINATE LEASE AND RECOVER TRAILERS;
    (II) ADEQUATE PROTECTION; AND (III) ALLOWANCE AND PAYMENT OF
                    ADMINISTRATIVE EXPENSE CLAIM

         AND NOW, upon this _____ day of ___________, 2023, upon consideration of the

Motion of Nations Fund I, LLC (“Nations Fund”) for (I) Relief from the Automatic Stay to

Terminate Lease and Recover Trailers; (II) Adequate Protection; and (III) Allowance and

Payment of Administrative Expense Claim (the “Motion”), any and all responses thereto and

after notice and a hearing; it is hereby

         ORDERED, that the Motion is GRANTED; and it is further

         ORDERED, that the automatic stay of 11 U.S.C. § 362 is hereby lifted for cause so that

Nations Fund may take all necessary steps to recover the 160 Stoughton trailers pursuant to the

Lease Documents; and it is further

         ORDERED, that Nations Fund shall have an allowed administrative expense claim in the

amount of $_____________ against the estates of USF Holland, LLC and Yellow Corporation

(collectively, the “Debtors”), which USF Holland or Yellow shall pay forthwith; and it is further

         ORDERED, that within five (5) days of the entry of this order, the Debtors shall (a)

provide to Nations Fund documentation sufficient to confirm that insurance is in place on all of




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the Nations Fund trailers and naming Nations Fund as loss payee; (b) designate a representative

of the Debtors to coordinate with Nations Fund for the delivery of the trailers; and (c) confirm

the current location of all 160 trailers; and it is further

         ORDERED, that within ten (10) days of the entry of this order, the Debtors shall

assemble the trailers for retrieval by Nations Fund or its agent.




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